Case 14-31229-sgj15             Doc 145-1 Filed 06/06/14 Entered 06/06/14 16:57:55                              Desc
                                  Certificate of Service Page 1 of 1




                                       CERTIFICATE OF SERVICE
          This is to certify that on June 6, 2014, a copy of the foregoing document was served (i) on the parties below
who are registered to receive electronic notification via the Electronic Case Filing (“ECF”) System for the United
States Bankruptcy Court for the Northern District of Texas, and (ii) via United States first class mail, postage pre-
paid, to the remaining parties listed below, as indicated:

MtCox, Co. Ltd. a/k/a MtGox KK          Erin E. Broderick                            Office of the U.S. Trustee
Level 15-F, Cerulean Tower              Baker & McKenzie LLP                         1100 Commerce Street, Room 976
26-1 Sakuragaoka-cho                    300 East Randolph Drive, Suite 500           Dallas, TX 75242
Shibuya-ku                              Chicago, IL 60602                            Via ECF:
Tokyo, Japan 150-8152                   Via first-class mail                         ustpregion06.da.ecf@usdoj.gov
Via first-class mail
Roger M. Townsend                       Jay Edelson                                  David J. Molton/Daniel J. Saval
Breskin Johnson & Townsend PLLC         Edelson PC                                   Brown Rudnick
1000 Second Avenue, Suite 3670          350 N. LaSalle St., Suite 1300               Seven Times Square
Seattle, WA 98104                       Chicago, IL 60654                            New York, NY 10036
Via ECF:                                Via first-class mail                         Via ECF:
rtownsend@bjtlegal.com                                                               jdmolton@brownrudnick.com;
                                                                                     jbeiswenger@brownrudnick.com;
                                                                                     wlancaster@brownrudnick.com;
                                                                                     dsaval@brownrudnick.com
Barry Barnett                           Thomas C. Scannell                            John D. Penn
Susman Godfrey LLP                      Gardere                                       Perkins Coie LLP
1201 3rd Avenue, Suite 3800             Thanksgiving Tower, Suite 3000                500 N. Akard Street, Suite 3300
Seattle, WA 98101-3087                  1601 Elm Street                               Dallas, TX 75201
Via ECF:                                Dallas, Texas 75201                           Via ECF:
bbarnet@susmangodfrey.com;              Via ECF:                                     jpenn@perkinscoie.com;
rlicon@susmangodfrey.com                tscannell@gardere.com;                       docketdal@perkinscoie.com
                                        koliver@gardere.com;
                                        jcharrison@gardere.com
Josephine Garrett                       The Honorable Jeh Johnson                    Steven L. Woodrow/Alicia Hwang/
Josephine Garrett, P.C.                 Secretary of Homeland Security               Christopher L. Door
3119 West 5th Street                    Department of Homeland Security              Edelson PC
Fort Worth, TX 76107                    Washington, DC 20528                         350 North LaSalle St., Suite 1300
Via ECF:                                Via first class mail                         Chicago, IL 60654
filing@jgarrettlaw.com                                                               Via ECF and first-class mail:
                                                                                     swoodrow@edelson.com
                                                                                     cdoor@edelson.com
Scott B. Kitei                          Robin E. Phelan                              Marcus Alan Helt
Honigan Miller Schwartz and Cohn        Stephen Manz                                 Gardere
2290 First National Building            Haynes and Boone, LLP                        Thanksgiving Tower, Suite 3000
660 Woodward Avenue                     2323 Victory Avenue, Suite 700               1601 Elm Street
Detroit, MI 48226-3506                  Dallas, TX 75219                             Dallas, Texas 75201
Via ECF:                                Via ECF:                                     Via ECF:
skitei@honigman.com                     robin.phelan@haynesboone.com                 mhelt@gardere.com;
                                        Stephen.manz@haynesboone.com                 koliver@gardere.com;
                                                                                     ccoleman@gardere.com

                                                                         /s/ Vincent J. Novak
                                                                         Vincent J. Novak




sf-3406754
